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                          UNITED STATES DISTRICT COURT
                                                       for the
                                           EASTERN DISTRICT OF NEW YORK


 LEON WEINGRAD, individually and on behalf of all                               )
           others similarly situated                                            )
                                                                                )
                               Plaintiff
                                                                                )
                                                                                         Civil Action No. 24-cv-2618
                                                                                )
                                  v.                                                            (GRB)(AYS)
                                                                                )
                                                                                )
              BLOCK EQUITY GROUP LLC                                            )
                                                                                )
                              Defendant


                                            AFFIRMATION OF SERVICE


Eliza Daniels, affirms and says that, the Deponent is not a party herein, is over the age of 18 years and
resides in the state of New York.That on April 10, 2024, at 2:38 pm at 54 State Street, Suite 804, Albany,
NY 12207, Deponent served the within Summons, Civil Cover Sheet, and Complaint, with the index
number and filing date of the action were endorsed upon the face of the papers so served herein. On: Block
Equity Group LLC, Defendant therein named, (hereinafter referred to as "subject") by leaving the following
documents with Maria Hughes who as Clerk at Republic Registered Agent Services Inc. is authorized by
appointment or by law to receive service of process for Block Equity Group LLC.


Black or African American Female, est. age 25-34, glasses: N, Black hair, 120 lbs to 140 lbs, 5' to 5' 3".
Geolocation of Serve: https://google.com/maps?q=42.7059508861,-73.7546339818
Photograph: See Exhibit 1


Total Cost: $95.00

I DECLARE UNDER PENALTY OF PERJURY UNDER THE LAWS OF THE UNITED STATES OF
AMERICA THAT THE FACTS HEREIN ARE TRUE AND CORRECT.




    I asked the person spoken to, on whether the subject was in active military service or financially dependent upon any one who
    is in the military service of the United States or the State of New York in any capacity whatsoever and received a negative

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    reply. The source of my information and belief are the conversations above narrated. Upon that information and belief I assert
    that the recipient is not in the military service of New York State or of the United States as that term is defined either in the
    State or Federal statuses.

                                                                   /s/ Eliza Daniels
Executed in
                                                                   Signature
   Schenectady County                                       ,      Server Name: Eliza Daniels
   NY           on     4/11/2024                      .            License#:


              PROOF TECHNOLOGY NEW YORK , LLC 1800 Gaylord Avenue, Denver, CO 80206 License # 12103684-DCA




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